Case: 1:20-cv-00570 Document #: 130 Filed: 07/20/20 Page 1 of 1 PageID #:4541

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

DISH Network L.L.C.
                                      Plaintiff,
v.                                                     Case No.: 1:20−cv−00570
                                                       Honorable Thomas M. Durkin
Cox Media Group, LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 20, 2020:


        MINUTE entry before the Honorable Thomas M. Durkin: Telephone conference
held on 7/20/2020. For the reasons stated, the Court denies DISH's motion for a
preliminary injunction. R. [91]. DISH's motion to stay pending appeal, R. [126], is also
denied with a written order to follow. Denying DISH's motion to stay does not supersede
the Court's order that the TRO will dissolve at 12:00 p.m. CST on July 22,2020. The
7/23/2020 telephone conference is vacated and reset to 8/5/2020 at 09:00 AM. The parties
are to call 877−402−9757, access code 4410831. The filing of a responsive pleading is
stayed pending the next status. Mailed notice(srn, )




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